Exhibit F
                                                            Page 1
·1· · · · · · · · CONFIDENTIAL - E. PAVONY

·2· · · · · · ·UNITED STATES DISTRICT COURT

·3· · · · · · ·EASTERN DISTRICT OF NEW YORK

·4· · FULL CIRCLE UNITED, LLC,· · · ·)
· · · · · · · · · · · · · · · · · · ·)
·5· · · · ·Plaintiff,· · · · · · · · )
· · · · · · · · · · · · · · · · · · ·) Case No.
·6· · vs.· · · · · · · · · · · · · · ) 1:20-cv-03395
· · · · · · · · · · · · · · · · · · ·)
·7· · BAY TEK ENTERTAINMENT, INC.,· ·)
· · · · · · · · · · · · · · · · · · ·)
·8· · · · ·Defendant.· · · · · · · · )
· · · -----------------------------· )
·9· · BAY TEK ENTERTAINMENT, INC.,· ·)
· · · · · · · · · · · · · · · · · · ·)
10· · · · ·Counterclaim Plaintiff,· ·)
· · · · · · · · · · · · · · · · · · ·)
11· · vs.· · · · · · · · · · · · · · )
· · · · · · · · · · · · · · · · · · ·)
12· · FULL CIRCLE UNITED, LLC,· · · ·)
· · · · · · · · · · · · · · · · · · ·)
13· · · · ·Counterclaim Defendant,· ·)
· · · · · · · · · · · · · · · · · · ·)
14· · and· · · · · · · · · · · · · · )
· · · · · · · · · · · · · · · · · · ·)
15· · ERIC PAVONY,· · · · · · · · · ·)
· · · · · · · · · · · · · · · · · · ·)
16· · · · ·Additional Counterclaim· ·)
· · · · · ·Defendant.· · · · · · · · )
17

18

19· · · · · · · · · · ·CONFIDENTIAL

20· ·REMOTE VIDEO-RECORDED DEPOSITION OF ERIC PAVONY

21· · · · · · · · · · June 13, 2022

22· · · · · · · · · · · ·Volume I

23· · Reported by:

24· · KATHY S. KLEPFER, RMR, RPR, CRR, CLR

25· · JOB NO. 211444


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                                                             Page 67
·1· · · · · · · ·CONFIDENTIAL - E. PAVONY
·2· · · ·A.· · There was the use of "Brewskee-Ball"
·3· ·as well.
·4· · · ·Q.· · Brewskee-Ball was formed in order to
·5· ·utilize the Skee-Ball game in connection with
·6· ·the business enterprise, correct?
·7· · · · · · ·MR. SKIBELL:· Objection to form.
·8· · · ·A.· · Brewskee-Ball was formed --
·9· · · · · · ·Can you repeat the question?
10· ·Brewskee-Ball was formed?
11· · · · · · ·MS. LEPERA:· Can you read it back,
12· · · ·reporter?
13· · · · · · ·(Record read.)
14· · · · · · ·THE WITNESS:· Brewskee-Ball was formed
15· · · ·to -- I'm sorry, I -- that -- is that a --
16· · · ·is that a computer reading or is that a
17· · · ·person reading it?· I couldn't get that.
18· ·BY MS. LEPERA:
19· · · ·Q.· · A court reporter.
20· · · ·A.· · It's a reporter, okay.
21· · · · · · ·Brewskee-Ball was formed -- I just
22· ·want to make sure I understand this question.
23· · · · · · ·Brewskee-Ball was formed for the
24· ·purpose of using -- I'm sorry.· Can you repeat
25· ·it again?


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                                                                       YVer1f
                                                            Page 68
·1· · · · · · · ·CONFIDENTIAL - E. PAVONY
·2· · · · · · ·Sorry, reporter.
·3· · · · · · ·(Record read.)
·4· · · · · · ·THE WITNESS:· I don't know -- I don't
·5· · · ·know if I understand that question.
·6· · · · · · ·Brewskee-Ball was formed so that we
·7· · · ·could play Skee-Ball in -- so we could play
·8· · · ·Skee-Ball in the fashion that we envisioned
·9· · · ·it at that time.
10· ·BY MS. LEPERA:
11· · · ·Q.· · In a business enterprise, correct?
12· · · ·A.· · Brewskee-Ball was for a business
13· ·enterprise, yes.
14· · · ·Q.· · Okay.· Right.
15· · · · · · ·So it centered around the Skee-Ball
16· ·game, correct?
17· · · ·A.· · Yes.
18· · · ·Q.· · Okay.· So, to the extent Brewskee-Ball
19· ·was part of the litigation, that as well as the
20· ·Skee-Ball mark all related to the Skee-Ball
21· ·game, essentially, correct?
22· · · · · · ·MR. SKIBELL:· Objection to form.
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24· ·Skee-Ball game, yes.
25· · · ·Q.· · Now -- and the Skee-Ball mark was


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                                     CONFIDENTIAL

                                                                       Page 1

 1                    UNITED STATES DISTRICT COURT
 2                    EASTERN DISTRICT OF WISCONSIN
 3      - - - - - - - - - - - - - - - - - - - - - - - - - - -
        FULL CIRCLE UNITED, LLC,
 4
                            Plaintiff,
 5
                vs.                                    Case No.
 6                                                     1:20-cv-03395
        BAY TEK ENTERTAINMENT, INC,
 7
                         Defendant.        CONFIDENTIAL
 8      _______________________________
 9      BAY TEK ENTERTAINMENT, INC.,
10                 Counterclaim Plaintiff,
11       vs.
12      FULL CIRCLE UNITED, LLC,
13                 Counterclaim Defendant,
14       and
15      ERIC PAVONY,
16                 Additional Counterclaim
                   Defendant.
17
        - - - - - - - - - - - - - - - - - - - - - - - - - - - -
18
                                 CONFIDENTIAL
19                  VIRTUAL VIDEO-RECORDED DEPOSITION OF:
                               LARRY TREANKLER
20
                      TAKEN AT:    The Witness's Residence
21
                        LOCATED AT: 6747 Kawula Lane
22                           Sobieski, Wisconsin
23                              July 12, 2022
                            9:24 a.m. to 7:12 p.m.
24
                 REPORTED BY: VICKY L. ST. GEORGE, RMR.
25      - - - - - - - - - - - - - - - - - - - - - - - - - - - -
        JOB NO. 5304329

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                                    CONFIDENTIAL

                                                                Page 81

 1      BY MS. CASADONTE-ASPSTOLOU:
 2      Q.     Did Bay Tek ever agree to manufacture Bay Tek custom
 3             lanes?
 4                         MS. LEPERA:     Objection to the form of the
 5             question, also calls for a legal conclusion.        You
 6             can answer as a lay person.
 7                         THE WITNESS:      We made 10 prototype games
 8             for them.
 9      BY MS. CASADONTE-ASPSTOLOU:
10      Q.     Did the prototype games that you made for Full Circle
11             have a name?
12                         MS. LEPERA:     Object to the form, vague and
13             ambiguous.
14                         THE WITNESS:      You mean like a product
15             development code name kind of thing or -- we just
16             referred to them as custom lanes.
17      BY MS. CASADONTE-ASPSTOLOU:
18      Q.     Does the term NSBL     mean anything to you?
19                         MS. LEPERA:     Objection to form, vague and
20             ambiguous.    You can answer if you understand.
21                         THE WITNESS:      Yes.
22      BY MS. CASADONTE-ASPSTOLOU:
23      Q.     What does it mean?
24      A.     National Skee-Ball League.
25      Q.     Do you recall when you first heard the term NSBL?

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                                     CONFIDENTIAL

                                                                  Page 144

 1             something in your question.           I don't think you heard
 2             him.
 3                         MS. CASADONTE-ASPSTOLOU:         I misheard you
 4             then.    I'm sorry.   Go ahead.
 5                         THE WITNESS:      Are you talking about the 10
 6             lanes or one single prototype?
 7      BY MS. CASADONTE-ASPSTOLOU:
 8      Q.     I'm talking about the prototype lanes.
 9                         MS. LEPERA:     Well, plural or singular is
10             what he's asking you.
11                         THE WITNESS:      This one prototype for the
12             purposes of this question.
13                         MS. LEPERA:     One I think she said, Larry.
14             I can't hear her myself.
15                         THE WITNESS:      That one is in reference to
16             the one that they modified, the old, old Skee-Ball
17             game?
18      BY MS. CASADONTE-ASPSTOLOU:
19      Q.     Yes.
20      A.     You're asking me when?
21      Q.     Yes.    When did Bay Tek and Full Circle start working
22             together?
23      A.     I told you before, I think it was the summer of 2017.
24      Q.     Okay.    And at that point had Bay Tek made any
25             commitment to build more than one prototype NSBL lane

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                                                           Page 210

 1                     UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF NEW YORK
 2
        FULL CIRCLE UNITED, LLC,
 3
               Plaintiff,
 4      vs.                       Civ. Action No. 1:20-cv-03395
 5      BAY TEK ENTERTAINMENT, INC.,
 6           Defendant.
        _______________________________/
 7
        BAY TEK ENTERTAINMENT, INC.,
 8
               Counterclaim Plaintiff,
 9      vs.
10      FULL CIRCLE UNITED, LLC,
11           Counterclaim Defendant,
        and
12
        ERIC PAVONY,
13
             Additional Counterclaim Defendant.
14      ________________________________________/
15
                             VOLUME II OF III
16                          (Pages 210 - 374)
17      VIDEOTAPED
        DEPOSITION OF:         HOLLY HAMPTON
18
        TAKEN BY:             The Plaintiff/Counterclaim
19                            Defendants
20      DATE TAKEN:           Wednesday, June 22, 2022
21      TIME:                 9:07 a.m. - 3:13 p.m.
                              Central Standard Time
22
        PLACE:                 Via Zoom Videoconference
23
        REPORTED BY:          Tonya H. Magee, Registered
24                            Professional Reporter and Notary
                              Public, State of Florida at Large
25

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                                                            Page 68
·1· · · · · · · ·CONFIDENTIAL - E. PAVONY
·2· · · · · · ·Sorry, reporter.
·3· · · · · · ·(Record read.)
·4· · · · · · ·THE WITNESS:· I don't know -- I don't
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·6· · · · · · ·Brewskee-Ball was formed so that we
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·8· · · ·Skee-Ball in the fashion that we envisioned
·9· · · ·it at that time.
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24· ·Skee-Ball game, yes.
25· · · ·Q.· · Now -- and the Skee-Ball mark was


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 1                       UNITED STATES DISTRICT COURT
 2                       EASTERN DISTRICT OF NEW YORK
            ______________________________________________
 3
            FULL CIRCLE UNITED, LLC,
 4
                    Plaintiff,
 5
            vs.                  Civ. Action No. 1:20-cv-03395
 6
            BAY TEK ENTERTAINMENT, INC.,
 7
                    Defendant.
 8          ____________________________/
 9          BAY TEK ENTERTAINMENT, INC.,
10                  Counterclaim Plaintiff,
11          vs.
12          FULL CIRCLE UNITED, LLC,
13                  Counterclaim Defendant,
14          and
15          ERIC PAVONY,
16                  Additional Counterclaim Defendant.
            ______________________________________________
17
18                        Remote Videotaped Deposition of
19          HOLLY HAMPTON, Volume III of III, taken at the
20          instance of the Plaintiff/Counterclaim
21          Defendants, before KATHY P. PABICH, a Notary
22          Public in and for the State of Wisconsin,
23          taken from Green Bay, Wisconsin, on June 30,
24          2022, commencing at 12:49 p.m. and concluding
25          at 6:16 p.m., Central Standard Time.

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                                                                     Page 512

 1      to our games, we talked about this previously, so it
 2      -- regardless if it was -- we've done that with our
 3      games, um --
 4          Q       Will -- will you please --
 5                  MR. MOVIT:   Let her finish.          Let her finish.
 6      We've done that with your -- you're -- "we've done
 7      that with our games" you were saying Ms. Hampton.
 8      Please go on.
 9                  THE WITNESS:   We've done that with our games,
10      so whether it was Skee-Ball lanes specifically or
11      not, we created the smart meter that had the ability
12      to speak to all of our games using a cell phone.
13      BY MS. CASADONTE-APOSTOLOU:
14          Q       The API protocol used by Bay Tek prior to its
15      development of the Skee-Ball Live lanes with Full
16      Circle, did it communicate with a cloud-based
17      server?
18          A       Can you repeat that.
19          Q       Did the API call used by Bay Tek prior to its
20      work with Full Circle in connection with the
21      Skee-Ball Live lanes effectuate communications
22      between a game and a cloud-based server?
23          A       I believe that our Beer Ball game did exactly
24      that.
25          Q       Your Beer Ball game didn't use a cloud-based

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                                    CONFIDENTIAL

                                                                Page 81

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                                     CONFIDENTIAL

                                                                  Page 144

 1             something in your question.           I don't think you heard
 2             him.
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25             commitment to build more than one prototype NSBL lane

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                                                                        Page 260

 1             A.     We do.
 2             Q.     What is the criteria of the policy that Bay
 3      Tek had in place concerning a national account?
 4             A.     It's been a while, so bear with me.               It
 5      involves the -- I believe, the size of the organization
 6      or the route.      It involves the potential for that
 7      account to be able -- the volume that they can buy.                    It
 8      includes the ability to pay within terms.                 It involves
 9      the ability for them not to resell product that's high
10      level.
11             Q.     So is -- is it fair to say the certain
12      criteria that can be met that -- strike that.
13                    So it -- if certain criteria are met, Bay Tek
14      will directly sell product reflecting the Skee-Ball
15      mark?
16                    MR. MOVIT:    Object to the form of the
17             question.
18             A.     So it doesn't -- so we don't just sell
19      Skee-Ball brand at alleys.           We have a portfolio of
20      games.      So we don't just look at Skee-Ball.             And even if
21      someone meets the criteria, we can still choose not to
22      sell them.
23             Q.    (BY MS. CASADONTE-APOSTOLOU)             So it's
24      discretionary.      Is that fair to say?
25             A.     We -- we choose to support our distribution

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                                                                     Page 512

 1      to our games, we talked about this previously, so it
 2      -- regardless if it was -- we've done that with our
 3      games, um --
 4          Q       Will -- will you please --
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